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1
2                                        UNITED STATES DISTRICT COURT
                                         IN THE DISTRICT OF COLORADO
3
4    RAYMOND LYALL, ET AL;                                        Case No.: 16-CV-2155 WJM-SKC
5                        Plaintiffs,
6    vs.                                                          CLASS ACTION
7    CITY OF DENVER.
8                        Defendant                                DEMAND FOR JURY TRIAL
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10
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                        PLAINTIFF’S RESPONSE TO DENVER’S STATUS REPORT:
15
                                          REQUEST FOR ACTUAL NOTICE
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17
           1. Defendant City of Denver submitted a “Status Report” concerning a mass scale homeless
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19              sweep that occurred today, this morning, October 29, 2018.
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           2. Plaintiffs received the “Status Report” at 11:56 a.m. after much of the mass sweep had
21
22              already occurred.
23
           3. The sweep resulted in hundreds of homeless persons being displaced and deprived of
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                their property and shelter, without notice, and on the eve of a cold front moving into the
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26              Denver area.1
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         It is expected to snow several inches tomorrow, 10/30/18, with temperatures descending below freezing.

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1       4. The sweep was the obvious result of large-scale city planning and coordination that
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           involved and engaged numerous city agencies ranging from the Denver Police
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4          Department to Denver Public Works.
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        5. The large-scale sweep that occurred today is the very subject matter of litigation before
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7
           this Honorable Court.

8       6. Going forward, in its wide-ranging discretion concerning matters that are currently
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           pending before it, Plaintiffs would respectfully move that this Honorable Court order
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11         Defendant City of Denver to notify Plaintiffs’ class counsel of its intent to conduct large
12
           scale sweeps—as defined by this Court, 4/27/17 [Docket No. 106: Granting in Part and
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14         denying in Part Plaintiffs' Motion for Class Certification]—at least 72 hours prior to the
15         planned sweep, so that Plaintiffs would have the option of applying for a Temporary
16
           Restraining Order to this Honorable Court pursuant to Federal Rule of Civil Procedure
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18         65(b).
19
20
21   Dated: 10/29/18
22
                                                         s/ Jason Flores-Williams
23                                                       LAW OFFICE OF JASON FLORES-
                                                         WILLIAMS
24
                                                         1851 Bassett St. #509
25                                                       Denver, CO 80202
26                                                       Telephone: 303-514-4524
                                                         Email: jfw@jfwlaw.net
27
28                                                       s/Andy McNulty
                                                         s/David A. Lane
29                                                       KILLMER, LANE & NEWMAN, LLP
30                                                       1543 Champa Street, Suite 400
                                                         Denver, Colorado 80202
31                                                       (303) 571-1000
32                                                       dlane@kln-law.com

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1                                                       amcnulty@kln-law.com
2
                                                         Attorneys for Plaintiff Class
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4
5
6                                    CERTIFICATE OF SERVICE
7
8    I certify that on this 29th day of October 2018, I electronically filed the foregoing RESPONSE
9    TO STATUS REPORT: REQUEST FOR ACTUAL NOTICE with the Clerk of the Court using
10   the CM/ECF system which will send notification of such filing to the following counsel of the
11   City Attorney’s Office:
12
13
14   Geoffrey C. Klingsporn , Assistant City Attorney,
15   Wendy J. Shea, Assistant City Attorney,
     Conor D. Farley, Assistant City Attorney,
16
     Denver City Attorney’s Office;
17   Civil Litigation Section 201 W. Colfax Ave., Dept. 1108
18   Denver, Colorado 80202
19   Telephone: (720) 913-3100 Facsimile: (720) 913-3190
     wendy.shea@denvergov.org
20
     geoffrey.klingsporn@denvergov.org
21
     conor.farley@denvergov.org
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